               Case 14-28863                       Doc 1           Filed 08/06/14 Entered 08/06/14 13:31:38                                                       Desc Main
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                                                   United States Bankruptcy Court
                                             Northern District of Illinois, Eastern Division                                                                       Voluntary Petition

Name of Debtor (if individual, enter Last, First, Middle):                                         Name of Joint Debtor (Spouse) (Last, First, Middle):
Kale, Zulema
All Other Names Used by the Debtor in the last 8 years                                             All Other Names Used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                        (include married, maiden, and trade names):



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                  Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all): 7879                                                                (if more than one, state all):

Street Address of Debtor (No. and Street, City, and State):                                        Street Address of Joint Debtor (No. and Street, City, and State):
3014 Houston St.

Franklin Park, IL                                                            60131
County of Residence or of the Principal Place of Business:                                         County of Residence or of the Principal Place of Business:
Cook
Mailing Address of Debtor (if different from street address):                                      Mailing Address of Joint Debtor (if different from street address):




Location of Principal Assets of Business Debtor (if different from street address above):


                    Type of Debtor                                          Nature of Business                                    Chapter of Bankruptcy Code Under Which
                (Form of Organization)                                       (Check one box.)                                         the Petition is Filed (Check one box)
                   (Check one box.)                             Health Care Business                                        Chapter 7                Chapter 15 Petition for
      Individual (includes Joint Debtors)                       Single Asset Real Estate as defined in                      Chapter 9                Recognition of a Foreign
       See Exhibit D on page 2 of this form.                    11 U.S.C § 101 (51B)                                        Chapter 11               Main Proceeding
      Corporation (includes LLC and LLP)                        Railroad                                                    Chapter 12
                                                                Stockbroker                                                                          Chapter 15 Petition for
      Partnership                                                                                                           Chapter 13
                                                                Commodity Broker                                                                     Recognition of a Foreign
      Other (If debtor is not one of the above entities,
                                                                Clearing Bank                                                                        Nonmain Proceeding
      check this box and state type of entity below.)
                                                                Other                                                                                Nature of Debts
                                                                                                                                                     (Check one box.)
                                                                                                                            Debts are primarily consumer              Debts are primarily
               Chapter 15 Debtors                                          Tax-Exempt Entity
                                                                                                                            debts, defined in 11 U.S.C.               business debts.
Country of debtor's center of main interests:                           (Check box, if applicable.)
                                                                                                                            § 101(8) as "incured by an
                                                                Debtor is a tax-exempt organization                         individual primarily for a
Each country in which a foreign proceeding by,                  under Title 26 of the United States
regarding, or against debtor is pending:                                                                                    personal, family, or house-
                                                                Code (the Internal Revenue Code).                           hold purpose.
                          Filing Fee (Check one box.)                                                                              Chapter 11 Debtors
                                                                                                      Check one box:
      Full Filing Fee attached
                                                                                                         Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D)
      Filing Fee to be paid in installments (Applicable to individuals only)                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D)
      Must attach signed application for the court's consideration certifying that the debtor is      Check if:
      unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                      Debtor's aggregate noncontingent liquidated debts (excluding debts owned to
                                                                                                          insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
      Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must attach                 on 4/01/16 and every three years thereafter).
      signed application for the court's consideration. See Official Form 3B.                               - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                                                                      Check all applicable boxes:
                                                                                                         A plan is being filed with this petition.
                                                                                                         Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                          of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                        THIS SPACE IS FOR
      Debtor estimates that funds will be available for distribution to unsecured creditors.                                                                                   COURT USE ONLY
      Debtor estimates that, after any exempt property is excluded and administrative
      expenses paid, there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-                 50-              100-              200-             1,000-            5,001-            10,001-           25,001-           50,001-           Over
 49                 99               199               999              5,000             10,000            25,000            50,000            100,000           100,000
 Estimated Assets

 $0 to              $50,001 to       $100,001 to       $500,001         $1,000,001        $10,000,001       $50,000,001     $100,000,001        $500,000,001      More than
 $50,000            $100,000         $500,000          to $1            to $10            to $50            to $100         to $500             to $1 billion     $1 billion
                                                       million          million           million           million         million
 Estimated Liabilities

 $0 to              $50,001 to       $100,001 to       $500,001         $1,000,001        $10,000,001       $50,000,001       $100,000,001      $500,000,001      More than
 $50,000            $100,000         $500,000          to $1            to $10            to $50            to $100           to $500           to $1 billion     $1 billion
                                                       million          million           million           million           million
                Case 14-28863                         Doc 1            Filed 08/06/14 Entered 08/06/14 13:31:38                                                      Desc Main
B1 (Official Form 1) (04/13)                                             Document     Page 2 of 45                                                                             Page 2
 Voluntary Petition                                                                                 Name of Debtor(s): Kale.Zulema
 (This page must be completed and filed in every case)
                                                All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet.)

Location                                                                                             Case Number:                                 Date Filed:
Where Filed:

Location                                                                                             Case Number:                                 Date Filed:
Where Filed:
                                  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                                     Case Number:                                 Date Filed:


 District:                                                                                           Relationship:                                Judge:


                                             Exhibit A                                                                                           Exhibit B
                                                                                                                                (To be completed if debtor is an individual
   (To be completed if debtor is required to file periodic reports (e.g., forms                                                 whose debts are primarily consumer debts.)
   10K and 10Q) with the Securities and Exchange Commission pursuant to
   Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   relief under chapter 11.)                                                                           have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                       12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                       available under each such chapter. I further certify that I delivered to the
                                                                                                       debtor the notice required by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.
                                                                                                           X     Joseph C, Michelotti
                                                                                                                                                                           Date

                                                                                                 Exhibit C
   Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
        No


                                                                                                 Exhibit D
   (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
   If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                              Information Regarding the Debtor - Venue
                                                                                       (Check any applicable box.)

              Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
               preceding the date of this petition or for a longer part of such 180 days than in any other District.


              There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or
              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
               this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                           Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                       (Check all applicable boxes.)
              Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)

                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)


              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
              entire monetary default that gave rise to the judgment for possession, after the judgement for possession was entered, and

              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
              filing of the petition.
              Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
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 Voluntary Petition                                                                           Name of Debtor(s): Kale.Zulema
 (This page must be completed and filed in every case)

                                                                                          Signatures

                                                                                                                        Signature of a Foreign Representative
               Signature(s) of Debtor(s) (Individual/Joint)
    I declare under penalty of perjury that the information provided in this petition           I declare under penalty of perjury that the information provided in this petition
    is true and correct.                                                                        is true and correct, that I am the foreign representative of a debtor in a foreign
    [If petitioner is an individual whose debts are primarily consumer debts and has            proceeding, and that I am authorized to file this petition.
    chosen to file under Chapter 7] I am aware that I may proceed under chapter 7,
    11, 12 or 13 of title 11, United States Code, understand the relief available under         (Check only one box.)
    each such chapter, and choose to proceed under chapter 7.
                                                                                                     I request relief in accordance with chapter 15 of title 11, United States
    [If no attorney represents me and no bankruptcy petition preparer signs the
                                                                                                      Code. Certified copies of the documents required by § 1515 of title 11 are
    petition] I have obtained and read the notice required by § 342(b) of the
                                                                                                      attached.
    Bankruptcy Code.
                                                                                                     Pursuant to § 1511 of title 11, United States Code, I request relief in accordance
    I request relief in accordance with the chapter of title 11, United States Code,
                                                                                                     with the chapter of title 11 specified in this petition. A certified copy of the
    specified in this petition.
                                                                                                     order granting recognition of the foreign main proceeding is attached.

X     /s/Zulema Kale                                                                           X
      Signature of Debtor                                                                           (Signature of Foreign Representative)
X
      Signature of Joint Debtor
                                                                                                    (Printed Name of Foreign Representative)
      Telephone Number (If not represented by attorney)
      8/5/2014                                                                                      Date
      Date

                                     Signature of Attorney*                                                   Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                                I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer
X     /s/Joseph C. Michelotti
                                                                                                as defined in 11 U.S.C. 110; (2) I prepared this document for compensation
      Signature of Attorney
                                                                                                and have provided the debtor with a copy of this document and the notice and
      Joseph C. Michelotti                                                                      information required under 11 U.S.C. 110(b), 110(h), and 342(b); and, (3) if
      Printed Name of Attorney for Debtor(s)                                                    rules or guidelines have been promulgated pursuant to 11 U.S.C. 110(h) setting
      Michelotti & Associates                                                                   a maximum fee for services chargeable by bankruptcy petition preparers, I have
      Firm Name                                                                                 given the debtor notice of the maximum amount before preparing any document
      2625 Butterfield Rd. /Suite 138S                                                          for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                                section. Official Form 19B is attached.
      Address
      Oak Brook, IL 60523
                                                                                                    Printed Name and title, if any, of Bankruptcy Petition Preparer

      630-928-0100                                                                              Social Security number (If the bankruptcy petition preparer is not an individual,
      Telephone Number                                                                          state the Social Security number of the officer, principal, responsible person or
      8/5/14                                                                                    partner of the bankruptcy petition preparer.)(Required by 11 U.S.C. § 110.)
      Date
* In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                    Address
certification that the attorney has no knowledge after an inquiry that the information
in the schedules is incorrect.
             Signature of Debtor (Corporation/Partnership)
                                                                                               X
    I declare under penalty of perjury that the information provided in this
    petition is true and correct, and that I have been authorized to file this
    petition on behalf of the debtor.
                                                                                                    Date
    The debtor requests relief in accordance with the chapter of title 11,
                                                                                                Signature of Bankruptcy Petition Preparer or officer, principal, responsible
    United States Code, specified in this petition.
                                                                                                person, or partner whose social security number is provided above.

                                                                                                Names and Social Security numbers of all other individuals who
      Signature of Authorized Individual                                                        prepared or assisted in preparing this document unless the bankruptcy petition:
                                                                                                preparer is not an individual.

      Printed Name of Authorized Individual                                                     If more than one person prepared this document, attach additional sheets
                                                                                                conforming to the appropriate official form for each person.

      Title of Authorized Individual                                                            A bankruptcy petition preparer's failure to comply with the provisions
                                                                                                of title 11 and the Federal Rules of Bankruptcy Procedure may result
      Date                                                                                      in fines or imprisionment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
B 1D (Official Form 1, Exhibit D)(12/09)
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                                     UNITED STATES BANKRUPTCY COURT
                                           Northern District of Illinois, Eastern Division

In Re:                          Kale.Zulema                            Case No.
                                   Debtor                                                      (if known)


                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT


                    Warning: You must be able to check truthfully one of the five statements regarding
             credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
             case, and the court can dismiss any case you do file. If that happens, you will lose whatever
             filing fee you paid, and your creditors will be able to resume collection activities against
             you. If your case is dismissed and you file another bankruptcy case later, you may be
             required to pay a second filing fee and you may have to take extra steps to stop creditors'
             collection activities.

                   Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
             must complete and file a separate Exhibit D. Check one of the five statements below and attach
             any documents as directed.

                   1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
             from a credit counseling agency approved by the United States trustee or bankruptcy
             administrator that outlined the opportunities for available credit counseling and assisted me in
             performing a related budget analysis, and I have a certificate from the agency describing the
             services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
             developed through the agency.

                    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
             from a credit counseling agency approved by the United States trustee or bankruptcy
             administrator that outlined the opportunities for available credit counseling and assisted me in
             performing a related budget analysis, but I do not have a certificate from the agency describing
             the services provided to me. You must file a copy of a certificate from the agency describing the
             services provided to you and a copy of any debt repayment plan developed through the agency
             no later than 14 days after your bankruptcy case is filed.
B 1D (Official Form 1, Exh. D)(12/09) - Cont.
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                    3. I certify that I requested credit counseling services from an approved agency but was
             unable to obtain the services during the five days from the time I made my request, and the
             following exigent circumstances merit a temporary waiver of the credit counseling requirement
             so I can file my bankruptcy case now. [Summarize exigent circumstances here.]

                   If your certification is satisfactory to the court, you must still obtain the credit
             counseling briefing within the first 30 after you file your bankruptcy petition and
             promptly file a certificate from the agency that provided the counseling, together with a
             copy of any debt management plan developed through the agency. Failure to fulfill these
             requirements may result in dismissal of your case. Any extension of the 30-day deadline
             can be granted only for cause and is limited to a maximum of 15 days. Your case may also
             be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
             without first receiving a credit counseling briefing.

                   4. I am not required to receive a credit counseling briefing because of: [Check the
             applicable statement.][Must be accompanied by a motion for determination by the court.]
                                 Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                           illness or mental deficiency so as to be incapable of realizing and making rational
                           decisions with respect to financial responsibilities.);
                                Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                           extent of being unable, after reasonable effort, to participate in a credit counseling
                           briefing in person, by telephone, or through the Internet.);
                                  Active military duty in a military combat zone.

                   5. The United States trustee or bankruptcy administrator has determined that the credit
             counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

             I certify under penalty of perjury that the information provided above is true and
             correct.




             Signature of Debtor          /s/Zulema Kale
             Date:     8/5/2014
B6 Summary (Official Form 6 - Summary) (12/13)
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                                        UNITED STATES BANKRUPTCY COURT
                                             Northern District of Illinois, Eastern Division

In Re:                             Kale.Zulema                                            Case No.
                                      Debtor                                                                                  (if known)

                                                                                          Chapter                                  13



                                                          SUMMARY OF SCHEDULES

Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical
Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.



            NAME OF SCHEDULE                          ATTACHED             NO. OF SHEETS              ASSETS             LIABILITIES               OTHER
                                                       (YES/NO)

A - Real Property
                                                           Yes                     1                   $164,000.00


B - Personal Property
                                                           Yes                     5                     $8,248.75


C - Property Claimed
                                                           Yes                     1
    as Exempt


D - Creditors Holding
                                                           Yes                     1                                           $78,943.00
    Secured Claims


E - Creditors Holding Unsecured
                                                           Yes                     2                                                  0.00
    Priority Claims


F - Creditors Holding Unsecured
                                                           Yes                     1                                            $3,796.00
    Nonpriority Claims


G - Executory Contracts and
                                                           Yes                     1
    Unexpired Leases


H - Codebtors
                                                           Yes                     1


I - Current Income of
                                                           Yes                     1
    Individual Debtor(s)


J - Current Expenditures of
                                                           Yes                     1                                                                       2,273.00
    Individual Debtor(s)


                                                   TOTAL                                  15           $172,248.75             $82,739.00
Form 6 - Statistical Summary (12/13)
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                                        UNITED STATES BANKRUPTCY COURT
                                             Northern District of Illinois, Eastern Division

In Re:                            Kale.Zulema                                          Case No.
                                     Debtor                                                                                (if known)

                                                                                       Chapter                                 13



           STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

      If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

             Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.
This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.



  Type of Liability                                                                   Amount
Domestic Support Obligations (from Schedule E)
Taxes and Certain Other Debts Owed to Governmental Units
(from Schedule E)(whether disputed or undisputed)

Claims for Death or Personal Injury While Debtor Was
Intoxicated (from Schedule E)(whether disputedor undisputed)

Student Loan Obligations (from Schedule F)
Domestic Support, Separation Agreement, and Divorce Decree
Obligations Not Reported on Schedule E

Obligations to Pension or Profit-Sharing, and Other Similar
Obligations (from Schedule F)

                                                                        TOTAL

  State the following:
Average Income (from Schedule I, Line 12)                                                     2,990.02
Average Expenses (from Schedule J, Line 22)                                                   2,273.00
Current Monthly Income (from Form 22A Line 12; OR, Form
22B Line 11; OR, Form 22C Line 20)                                                                0.00


  State the following:
1. Total from Schedule D, "UNSECURED PORTION, IF
ANY" COLUMN

2. Total from Schedule E, "AMOUNT ENTITLED TO
PRIORITY" column.

3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
PRIORITY, IF ANY" column.

4. Total from Schedule F                                                                                         $3,796.00
5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                      $3796.00
Official Form 6A (12/07)
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                                     Debtor                                                                                                (if known)



                                                        SCHEDULE A - REAL PROPERTY
     Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
   tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
   the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H", "W", "J", or "C" in the
   column labeled "Husband, Wife, Joint or Community". If the debtor holds no interest in real property, write "None" under "Description and Location
   of Property".

    Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
   Unexpired Leases.

     If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims
   to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim".

    If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
   Claimed as Exempt.




                                                                                                 Husband, Wife, Joint,
                                                                                                 or Community
                                                                                                                         Current Value of
                                                                                                                         Debtor's Interest in
                                                                                                                         Property Without
                                                                Nature of Debtor's                                       Deducting Any Secured      Amount of
                                                                Interest in Property                                     Claim or Exemption         Secured Claim
Description and Location of Property
Primary Residence / Condo                                       Fee simple                                                             164,000.00                   79843.00
3014 Houston St.
Franklin Park, IL 60131




                                                                                               Total                                  $164,000.00
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                                       Debtor                                                                                               (if known)



                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
  place an "X" in the appropriate position in the column labeled "None". If additional space is needed in any category, attach a separate sheet properly
  identified with the same case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the
  property by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint or Community". If the debtor is an individual or a joint
  petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

   Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
  Unexpired Leases.

  If the property is being held for the debtor by someone else, state the person's name and address under "Description and Location of Property".
  If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
  "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                               Husband, Wife, Joint,
                                                                                                                               or Community
                                                                                                                                                       Current Value of
                                                                                                                                                       Debtor's Interest in
                                                                                                                                                       Property Without
                                                                                                                                                       Deducting Any Secured
Type of Property                                             None Description and Location of Property                                                 Claim or Exemption

1. Cash on hand.                                                X




2. Checking, savings or other financial                               Checking Account                                                                                         7448.75
accounts, CD's, or shares in banks, savings
and loan, thrift, building and loan, and                              TCF Bank
homestead associations, or credit unions,
brokerage houses or cooperatives.


3. Security deposits with public utilities,                     X
telephone companies, landlords, and others.




4. Household goods and furnishings, including                         Sofa Beds, Bedding, Table, Chairs,                                                                        500.00
audio, video, and computer equipment.                                 Lamps, Kitchen Items, all items in used
                                                                      condition

                                                                      Debtors Residence
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                                   Debtor                                                                      (if known)




                                                                                                  Husband, Wife, Joint,
                                                                                                  or Community
                                                                                                                          Current Value of
                                                                                                                          Debtor's Interest in
                                                                                                                          Property Without
                                                                                                                          Deducting Any Secured
Type of Property                                      None Description and Location of Property                           Claim or Exemption

5. Books, pictures and other art objects,               X
antiques, stamp, coin, record, tape, compact
disc, and other collections or collectibles.




6. Wearing apparel.                                         Casual Clothing                                                                       300.00

                                                            Debtors Residence




7. Furs and jewelry.                                    X




8. Firearms and sports, photographic, and               X
other hobby equipment.




9. Interests in insurance policies. Name                X
insurance company of each policy and itemize
surrender or refund value of each.




10. Annuities. Itemize and name each issuer.            X




11. Interests in an education IRA as defined in         X
26 U.S.C. § 530(b)(1) or under a qualified State
tuition plan as defined in 26 U.S.C. § 529(b)(1).
Give particulars.



12. Interest in IRA, ERISA, Keogh, or other             X
pension or profit sharing plans. Give particulars.
Official Form 6B (12/07)
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                                                                         11No.
                                                                             of 45
                                    Debtor                                                                      (if known)




                                                                                                   Husband, Wife, Joint,
                                                                                                   or Community
                                                                                                                           Current Value of
                                                                                                                           Debtor's Interest in
                                                                                                                           Property Without
                                                                                                                           Deducting Any Secured
Type of Property                                       None Description and Location of Property                           Claim or Exemption

13. Stock and interests in incorporated and              X
unincorporated businesses. Itemize.




14. Interests in partnerships or joint                   X
ventures. Itemize.




15. Government and corporate bonds and other             X
negotiable and non-negotiable instruments.




16. Accounts receivable.                                 X




17. Alimony, maintenance, support, and                   X
property settlements to which the debtor is or
may be entitled. Give particulars.




18. Other liquidated debts owing debtor                  X
including tax refunds. Give particulars.




19. Equitable or future interest, life estates, and      X
rights or powers exercisable for the benefit of
the debtor other than those listed in Schedule A
- Real Property.



20. Contingent and noncontingent interests in            X
real estate of a decendent, death benefit plan,
life insurance policy, or trust.
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                                                                        12No.
                                                                            of 45
                                    Debtor                                                                     (if known)




                                                                                                  Husband, Wife, Joint,
                                                                                                  or Community
                                                                                                                          Current Value of
                                                                                                                          Debtor's Interest in
                                                                                                                          Property Without
                                                                                                                          Deducting Any Secured
Type of Property                                      None Description and Location of Property                           Claim or Exemption

21. Other contingent or unliquidated claims of          X
every nature, including tax refunds, counter-
claims of the debtor, and rights to setoff claims.
Give estimated value of each.



22. Patents, copyrights, and other intellectual         X
property. Give particulars.




23. Licenses, franchises, and other general             X
intangibles. Give particulars.




24. Customer lists or other compilations contain-       X
ing personally identifiable information provided
to the debtor by individuals in connection with
obtaining a product or service from the debtor pri-
marily for personal, family, or household purposes.


25. Automobiles, trucks, trailers, and other            X
vehicles and accessories.




26. Boats, motors, and accessories.                     X




27. Aircraft and accessories.                           X




28. Office equipment, furnishings, and supplies.        X
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                                 Debtor                                                                         (if known)




                                                                                                   Husband, Wife, Joint,
                                                                                                   or Community
                                                                                                                           Current Value of
                                                                                                                           Debtor's Interest in
                                                                                                                           Property Without
                                                                                                                           Deducting Any Secured
Type of Property                               None Description and Location of Property                                   Claim or Exemption

29. Machinery, fixtures, equipment, and          X
supplies used in business.




30. Inventory.                                   X




31. Animals.                                     X




32. Crops - growing or harvested. Give           X
particulars.




33. Farming equipment and implements.            X




34. Farm supplies, chemicals, and feed.          X




35. Other personal property of any kind not      X
already listed. Itemize.




                                                                                           Total
 B6C (Official Form 6C) (04/13)
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                                                                                of 45
                                      Debtor                                                                            (if known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:                      Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                                      $155,675.*
    11 U.S.C. § 522(b)(2)
    11 U.S.C. § 522(b)(3)




                                                                                                                                Current Value of
                                                              Specify Law Providing            Value of Claimed                 Property Without
Description of Property                                       Each Exemption                   Exemption                        Deducting Exemption
  Primary Residence / Condo                                       735-5/12-901                                     15,000.00                     164,000.00
  3014 Houston St.
  Franklin Park, IL 60131



  Checking Account                                                735-5/12-1001(b)                                  4,000.00                       7448.75

  TCF Bank



  Casual Clothing                                                 735-5/12-1001(a)                                    300.00                          300.00

  Debtors Residence
Official Form 6D (12/07)
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                                                                               of 45
                                      Debtor                                                                                                                     (if known)



                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
 property of the debtor as of the date of the filing of the petition. The complete account number of any account the debtor has with the creditor is useful
 to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
 judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
 address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112
 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the
 entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife,
 both of them, or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife,
 Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column
 labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of
 these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes
 labeled "Total(s)" on the last sheet of the completed schedule. Report the total from the column labeled "Amount of Claim Without Deducting Value
 of Collateral" also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
 labeled "Unsecured Portion, if Any" on the Statistical Summary of Certain Liabilities and Related Data.


                 Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                         Husband, Wife, Joint,
                                                         or Community




                                                                                                                                Unliquidated
                                                                                                                   Contingent
                                                                                 Date Claim was Incurred,                                                 Amount of
                                                         Codebtor




                                                                                                                                               Disputed
                                                                                 Nature of Lien, and Description                                          Claim Without
Creditor's Name and Mailing Address                                              and Value of Property                                                    Deducting               Unsecured
Including Zip Code                                                               Subject to Lien                                                          Value of Collateral     Portion, If Any
Account Number:                                                                  First Mortgage                                                                        78943.00                    0.00
Chase Home Finance                                                               3014 Houston St.
POB 78420                                                                        Franklin Park, IL 60131
Phoenix, AZ 85062

                                                                                 VALUE $            164,000.00
Account Number:                                                                  NOTICE ONLY
Heavner Scott & Beyers
111 E. Main St.                                                                  12 CH 12967
Suite 200
Decatur, IL 62523
                                                                                 VALUE $
Account Number:




                                                                                 VALUE $
                                                                                                                      Subtotal
                                                                                                          (Total of this page)                                       $78,943.00                   $0.00
                                                                                                                         Total
                                                                                                       (Use only on last page)                                       $78,943.00
                                                                                                                                                          (Report also on         (If applicable, report
                                                                                                                                                          Summary of              also on Statistical
                                                                                                                                                          Schedules.)             Summary of Certain
                                                                                                                                                                                  Liabilities and Related
                                                                                                                                                                                  Data.)
         0   continuation sheets attached
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                                      Debtor                                                                                       (if known)



                 SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
    unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
    including zip code, and last four digits of the account number, if any, of all entitires holding priority claims against the debtor or the property of the
    debtor, as of the date of the filing of this petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
    debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
    "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the
    entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both
    of them, or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or
    Community." If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column
    labeled "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of
    these three columns.)

         Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
    E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

         Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
    entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
    primarily consumer debts who file a case under chapter 7 or 13 report this total also on the Statistical Summary of Certain Liabilities and Related
    Data.

    Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
    amounts not entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors
    with primarily conusmer debts who file a case under chapter 7 report this total also on the Statistical Summary of Certain Liabilities and Related
    Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

          Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
    11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
    independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or
    the cessation of business, whichever occured first, to the extend provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
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                                      Debtor                                                                                   (if known)




         Certain farmers and fishermen
  Claims of certain farmers and fishermen, up to $6,150* per farmer of fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
  Claims of individuals up to $2,775* deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
  that were not delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and Certain Other Debts Owed to Governmental Units
  Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to Maintain the Capital of an Insured Depository Institution
  Claims based on commitments to the FDIC, RTR, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
  Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
  U.S.C. § 507(a)(9).

         Claims for Death or Personal Injury While Debtor Was Intoxicated
  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
  alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




  * Amounts are subject to adjustment on 04/01/16, and every three years thereafter with respect to cases commenced on or after the date of
  adjustment.




         0   continuation sheets attached
Official Form 6F (12/07)
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                                        Debtor                                                                                       (if known)



                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
     State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and Fed.
R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
     If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated".
If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
   Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts filing a case under chapter 7, report this total also on the Statistical
Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                           Husband, Wife, Joint,
                                                           or Community




                                                                                                                                                    Unliquidated
                                                                                                                                       Contingent
Creditor's Name and Mailing Address                                                Date Claim was Incurred and
                                                           Codebtor




                                                                                                                                                                   Disputed
Including Zip Code,                                                                Consideration for Claim. If Claim is
and Account Number                                                                 Subject to Setoff, so State.
                                                                                                                                                                              Amount of Claim
Account Number:                                                                    Utility / Judgment Entered                                                                             3796.00
Nicor Gas
P.O. Box 190                                                                       09 M4 001496
Aurora, IL 60507-0190


Account Number:




Account Number:




Account Number:




                                                                                                                                               Subtotal
                                                                                                                                                                                        $3,796.00
         0    continuation sheets attached                                                                                                  Total
                                                                                           (Use only on last page of the completed Schedule F.)                                         $3,796.00
                                                                       (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                             Summary of Certain Liabilities and Related Data.)
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                                         Debtor                                                                                      (if known)



                            SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
         Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
         interests. State nature of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or
         lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If
         a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent
         or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and
         Fed. R. Bankr. P. 1007(m).

         Check this box if debtor has no executory contracts or unexpired leases.




                                                                                         Description of Contract or Lease and Nature of Debtor's
                                                                                         Interest. State Whether Lease is for Nonresidential Real
Name and Mailing Address, Including Zip Code,                                            Property. State Contract Number of Any Government
of Other Parties to Lease or Contract                                                    Contract
Official Form 6H (12/07)
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                                     Debtor                                                                                   (if known)



                                                          SCHEDULE H - CODEBTORS
     Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by
   debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
   commonwealth,or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
   Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any
   former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the
   nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the
   child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
   child's name. See, 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

         Check this box if debtor has no codebtors.


Name and Mailing Address of Codebtor                                               Name and Mailing Address of Creditor

Jacqueline Colindres                                                               Chase Home Mortgage
3014 Houston St.
Franklin Park, IL
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Zulema                                Kale




            Northern District of IL




                                        X



                                      Machine Operator


                                      Winston Brands, Inc.


                                      2521 Busse Rd.




                                      Elk Grove Village IL   60007


                                             2 years




                                                                 1486.40




                                                                1,486.40   0.00
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                                                 1,486.40           0.00



                                                  296.38




                                                  296.38            0.00

                                                 1,190.02




                                                 1800.00




                                                 1,800.00           0.00

                                                 2,990.02                     2,990.02




                                                                              2,990.02
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        Zulema                           Kale




                    Northern




X


    X


                        X




                        X




                                                                                   1,628.00
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                                                                            70.00
                                                                           100.00
                                                                            30.00
          Trash                                                            100.00
                                                                           120.00




                                                                            20.00
                                                                            20.00

                                                                           120.00




                                                                            65.00
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    Zulema            Kale




                                                                            2,273.00




                                                                                0.00


                                                                            2,273.00


                                                                           -2,273.00




X
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                                      Debtor                                                                                    (if known)


                                   DECLARATION CONCERNING DEBTOR(S) SCHEDULES

                                   DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

           I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of 15 sheets (total shown on
           summary page plus 2), and that they are true and correct to the best of my knowledge, information, and belief.


                          8/5/2014                                                                               /s/Zulema Kale

                            Date                                                                              Signature of Debtor

                          8/5/2014

                            Date                                                                           Signature of Joint Debtor

                                                                           * * * * * *


                               DECLARATION AND SIGNATURE OF BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
  compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
  110(h), and 342(b); (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
  chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a
  debtor or accepting any fee from the debtor, as required under that section; and (4) I will not accept any additional money or other property from
  the debtor before the filing fee is paid in full.


   Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                         Social-Security No. (Required by 11 U.S.C. § 110.)
  If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal, responsible
  person or partner who signs this document.




         Address

   X
         Signature of Bankruptcy Petition Preparer                                      Date
  Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless te bankruptcy petition preparer is
  not an individual:
  If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.
  A bankruptcy petition preparer's failure to comply with the provisions of Title 11 and the Federal Rules of Bankruptcy Procedure may result in
  fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.




                                                                           * * * * * *

                   DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
                    I, ____________________________ named as debtor in this case, declare under penalty of perjury
                    that I have read the foregoing summary of schedules, consisting of sheets (total shown on summary
                    page plus 1), and that the are true and correct to the best of my knowledge, information, and belief.




                           Date                                                                        Signature of Authorized Individual

         Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisionment for up to 5 years or both.
         18 U.S.C. § 152 and 3571.
                                                                                                                                               Kale Page 1
B7(Official Form 7)(04/13)
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                                                  FORM 7. STATEMENT OF FINANCIAL AFFAIRS

                                        UNITED STATES BANKRUPTCY COURT
                                              Northern District of Illinois, Eastern Division

In Re:                             Kale.Zulema                                              Case No.
                                      Debtor                                                                                       (if known)

                                                   STATEMENT OF FINANCIAL AFFAIRS
                  This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
          the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
          information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
          filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
          should provide the information requested on this statement concerning all such activities as well as the individual's personal
          affairs. To indicate payments, transfer and the like to minor children, state the child's initials and the name and address of the
          child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C.
          § 112 and Fed. R. Bankr. P. 1007(m).
                  Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
          must complete Questions 19-25.         If the answer to an applicable question is "None", mark the box labeled "None".
          If additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case
          name, case number (if known), and the number of the question.

                                                                              DEFINITIONS

                  "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
          individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
          the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more
          of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or
          self-employed full-time or part-time. An individual debtor also may be "in business" for the purpose of this form if the debtor
          engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor's primary
          employment.

                  "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
          their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in
          control of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
          the debtor. 11 U.S.C. § 101(2), (31).


None          1. Income from employment or operation of business

              State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
              the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
              beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
              two years immediately preceding this calender year. (A debtor that maintains, or has maintained, financial records on
              the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
              of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
              under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)
                   Amount                                    Source
             19250.00                                       2013 Employment Income
             10127.00                                       2012 Employment Income
             0.00                                           2011 No Income
             0.00                                           2010 No Income
                                                                                                                                               Kale Page 2

        Case   14-28863
         2. Income             Docemployment
                   other than from 1 Filedor08/06/14        Entered 08/06/14 13:31:38
                                             operation of business                                                                     Desc Main
                                         Document         Page 28 of 45
None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the
           debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
           joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
           must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
           petition is not filed.)
               Amount                                     Source




           3. Payments to creditors
None         Complete a. or b., as appropriate, and c.
             a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases
             of goods or services, and other debts, aggregating more than $600 to any creditor, [except for a debt on account
             of a domestic support obligation,] made within 90 days immediately preceding the commencement of this case.
             Indcate with an * any payments that were made to the creditor on account of a domestic support obligation or as
             part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling
             agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
             whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               Dates of                              Amount                               Amount
           Name and Address of Creditor                        Payments                              Paid                                 Still Owing




None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
              within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
              constitutes or is affected by such transfer is less than $6,255. If the debtor is an individual, indicate with an asterisk (*)
              any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
              repayment schedule under a plan by an approved nonprofit budgeting and credit counselig agency. (Married
              debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.

                                                          Dates of Payments/                    Amount Paid or                            Amount
       Name and Address of Creditor                       Transfers                             Value of Transfers                        Still Owing
                                                                                                                                            Kale Page 3

                Case 14-28863                Doc 1         Filed 08/06/14 Entered 08/06/14 13:31:38                                      Desc Main
                                                            Document     Page 29 of 45
   None           c. All debtors: List all payment made within one year immediately preceding the commencement of this case
                     to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or
                     chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless
                     the spouses are separated and a joint petition is not filed.)


   Name and Address of Creditor                                 Date                                      Amount                          Amount
   and Relationship to Debtor                                   of Payment                                Paid                            Still Owing




                  4. Suits and administrative proceedings, executions, garnishments and attachments

   None            a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                     preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                     information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are
                     separated and a joint petition is not filed.)
   Caption of Suit                                                                                   Court or Agency                      Status or
   and Case Number                                             Nature of Proceeding                  and Location                         Disposition

Chase Home Mortgage                                       Chancery                               Cook County, IL                         Judgment Entered
vs.                                                                                                                                      Foreclosure Sale
Zulema Kale                                                                                                                              8/7/2014
12 CH 12967

Nicor Gas                                                 Small Claims                           Cook County, IL                         Judgment Entered
vs.
Zulema Kale
09 M4 01496
                                                                                                                                          Kale Page 4

None       Case    14-28863
            b. Describe                Doc
                        all property that      1 attached,
                                          has been  Filedgarnished
                                                           08/06/14           Entered
                                                                    or seized under any legal08/06/14        13:31:38
                                                                                              or equitable process within one Desc Main
                                                      Document
              year immediately preceding the commencement                   Page
                                                           of this case. (Married     30 filing
                                                                                  debtors  of 45 under chapter 12 or chapter
                13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
                unless the spouses are separated and a joint petition is not filed.)
Name and Address of Person for Whose                              Date of                                   Description and
Benefit Property was Seized                                       Seizure                                   Value of Property




              5. Repossessions, foreclosures and returns

None          List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
              of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
              (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                  Date of Repossession,
         Name and Address of                                      Foreclosure Sale,                         Description and Value
         Creditor or Seller                                       Transfer or Return                        of Property
                                                                                                                                         Kale Page 5

             Case   14-28863
              6. Assignments       Doc 1 Filed 08/06/14 Entered 08/06/14 13:31:38
                             and receiverships                                                                                        Desc Main
                                               Document Page 31 of 45
None           a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
                 commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment
                 by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                 petition is not filed.)
                 Name and Address                                  Date of                                             Terms of Assignment
                 of Assignee                                       Assignment                                          or Settlement




None         b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
               must include information concerning property of either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)
Name and Address                                   Name and Location of Court                                                          Description and
of Custodian                                       Case Title & Number                           Date of Order                         Value of Property
                                                                                                                                                  Kale Page 6

                Case   14-28863
                 7. Gifts                      Doc 1         Filed 08/06/14 Entered 08/06/14 13:31:38                                          Desc Main
                                                              Document     Page 32 of 45
    None           List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
                   except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
                   and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
                   chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
                   the spouses are separated and a joint petition is not filed.)
    Name and Address of Person                               Relationship to                                                                   Description and
    or Organization                                          Debtor, if any                           Date of Gift                             Value of Gift




                   8. Losses

    None           List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
                   of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                   include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                   joint petition is not filed.)                         Description of Circumstances and, if
    Description and Value                                              Loss was Covered in Whole or in Part
    of Property                                                        by Insurance, Give Particulars.                                          Date of Loss




                   9. Payments related to debt counseling or bankruptcy

    None           List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
                   consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
                   within one year immediately preceding the commencement of this case.
    Name and Address                                  Date of Payment, Name of                                 Amount of Money or Description
    of Payee                                          Payor if other than Debtor                               and Value of Property
Michelotti & Associates                                             7/2014                                    $4310 fees and costs
2625 Butterfield Rd.
Suite 138S
Oak Brook, IL 60523
                                                                                                                                             Kale Page 7

             Case  14-28863
              10. Other transfers Doc 1                   Filed 08/06/14 Entered 08/06/14 13:31:38                                       Desc Main
                                                           Document     Page 33 of 45
None            a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
                   the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
                   this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
                   whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
Name and Address of Transferree,                                                                                 Describe Property Transferred
Relationship to Debtor                                                  Date                                     and Value Received




None          b. List all property transferred by the debtor within ten years immediately preceding the commencement of this
              case to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                                     Amount of Money or Description and Value
Name of Trust or Other Device                                       Date(s) of Transfer(s)           of Property or Debtor's Interest in Property




                11. Closed financial accounts

None           List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
               closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
               checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
               held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
               institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
               instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
               separated and a joint petition is not filed.)
                                                                    Type of Account, Last Four
Name and Address                                                    Digits of Account Number,                                           Amount and Date of
of Institution                                                      and Amount of Final Balance                                         Sale or Closing
                                                                                                                                           Kale Page 8

             Case  14-28863 Doc 1
              12. Safe deposit boxes
                                                         Filed 08/06/14 Entered 08/06/14 13:31:38                                        Desc Main
                                                          Document     Page 34 of 45
None          List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
              within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
              chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
              the spouses are separated and a joint petition is not filed.
Name and Address of Bank                              Names and Addresses of those with                                                      Date of Transfer
or Other Depository                                   Access to Box or Depository               Description of Contents                      or Surrender, if any




               13. Setoffs

None           List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
               the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
               concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
               petition is not filed.)
Name and Address of Creditor                                            Date of Setoff                                                     Amount of Setoff




               14. Property held for another person

None           List all property owned by another person that the debtor holds or controls.

Name and Address of Owner                                               Description and Value of Property                                  Location of Property
                                                                                                                                        Kale Page 9

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           15. Prior address of debtor               Document     Page 35 of 45
None       If the debtor has moved within the three years immediately preceding the commencement of this case, list all premises
              which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
              filed, report also any separate address of either spouse.
Address                                                            Name Used                                                            Dates of Occupancy




           16. Spouses and former spouses

None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
           California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
           year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
           any former spouse who resides or resided with the debtor in the community property state.
Name
                                                                                                                                           Kale Page 10

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              17. Environmental information

              For the purpose of this question, the following definitions apply:

              "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
              releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
              other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
              or material.

              "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
              formerly owned or operated by the debtor, including, but not limited to, disposal sites.

              "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
              material, pollutant, or contaminant or similar term under an Environmental Law.

None          a. List the name and address of every site for which the debtor has received notice in writing by a governmental
              unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
              governmental unit, the date of the notice, and, if known, the Environmental Law.
                                                      Name and Address of
Site Name and Address                                 Governmental Unit                         Date of Notice                              Environmental Law




None          b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
              of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                      Name and Address of
Site Name and Address                                 Governmental Unit                         Date of Notice                              Environmental Law




None          c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
                respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or
                was a party to the proceeding, and the docket number.
 Name and Address of Governmental Unit                           Docket Number                                                           Status or Disposition
                                                                                                                                             Kale Page 11

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               18. Nature, location and name of business

None           a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                 and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
                 executive of a corporation, partner in a partnership, sole proprietor, or was a self-employed in a trade, profession, or
                 other activity either full- or part-time within the six-years immediately preceding the commencement of this case,
                 or in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
                 preceding the commencement of this case.

                 If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                 and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                 the voting or equity securities, within the six years immediately preceding the commencement of this case.

                 If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                 and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                 the voting or equity securities within the six years immediately preceding the commencement of this csae.
Name, Address, Last Four Digits of Soc. Sec. No.                                                                                            Beginning and
Complete EIN or Other Taxpayer I.D. No.                             Nature of Business                                                      Ending Dates




None           b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
                 defined in 11 U.S.C. § 101.
Name                                                                                                                          Address
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 [If completed by an individual or individual and spouse.]

 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
 attachments thereto and that they are true and correct.


                 8/5/2014                                                        X    /s/Zulema Kale
                 Date                                                                 Signature of Debtor

                 8/5/2014                                                        X
                 Date                                                                 Signature of Joint Debtor




                            ___________________________________________________________________________




 [If completed on behalf of a partnership or corporation]

 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
 attachments thereto and that they are true and correct to the best of my knowledge, information and belief.




                                                                                 X
                 Date                                                                 Signature of Authorized Individual

                                                                                      ,
                                                                                      Printed Name and Title




                             DECLARATION AND SIGNATURE OF BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
110(h), and 342(b); (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a
debtor or accepting any fee from the debtor, as required under that section; and (4) I will not accept any additional money or other property from
the debtor before the filing fee is paid in full.


 Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                         Social-Security No. (Required by 11 U.S.C. § 110.)
If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal, responsible
person or partner who signs this document.




     Address

X
     Signature of Bankruptcy Petition Preparer                                        Date
Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless te bankruptcy petition preparer is
not an individual:
If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.
A bankruptcy petition preparer's failure to comply with the provisions of Title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
B 8 (Official Form 8) (12/08)
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                                   UNITED STATES BANKRUPTCY COURT
                                       Northern District of Illinois, Eastern Division


In Re:                          Kale.Zulema                           Case No.
                                  Debtor                                                       (if known)


                       CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
    PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
    secured by property of the estate. Attach additional pages if necessary.)

     Property No. 1

     Creditor's Name:                                           Describe Property Securing Debt:



     Property will be (check one):
            Surrendered                                    Retained
     If retaining the property, I intend to (check at least one):
             Redeem the property
             Reaffirm the debt
             Other. Explain ________________________________ (for example, avoid lien using 11 U.S.C. § 522(f)).

     Property is (check one):
            Claimed as exempt                                 Not claimed as exempt




     Property No. 2 (if necessary)

     Creditor's Name:                                           Describe Property Securing Debt:



     Property will be (check one):
            Surrendered                                    Retained
     If retaining the property, I intend to (check at least one):
             Redeem the property
             Reaffirm the debt
             Other. Explain ________________________________ (for example, avoid lien using 11 U.S.C. § 522(f)).

     Property is (check one):
            Claimed as exempt                                 Not claimed as exempt
B 8 (Official Form 8) (12/08)
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PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for
each unexpired lease. Attached additional pages if necessary.)



     Property No. 1

     Lessor's Name:                          Describe Leased Property:                      Lease will be Assumed pursuant
                                                                                            to 11 U.S.C. § 365(p)(2):
                                                                                                   Yes       No

     Property No. 2 (if necessary)

     Lessor's Name:                          Describe Leased Property:                      Lease will be Assumed pursuant
                                                                                            to 11 U.S.C. § 365(p)(2):
                                                                                                   Yes       No

     Property No. 3 (if necessary)

     Lessor's Name:                          Describe Leased Property:                      Lease will be Assumed pursuant
                                                                                            to 11 U.S.C. § 365(p)(2):
                                                                                                   Yes       No



     I declare under penalty of perjury that the above indicates my intention as to any property of my
     estate securing a debt and/or personal property subject to an unexpired lease.


                  8/5/2014                                      X   /s/Zulema Kale
                  Date                                              Signature of Debtor


                                                                X
                                                                    Signature of Joint Debtor
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In Re:                            Kale.Zulema         Document     PageCase
                                                                        41No.
                                                                            of 45
                                    Debtor                                                                           (if known)


                                      UNITED STATES BANKRUPTCY COURT
                                           Northern District of Illinois, Eastern Division

                                                                    STATEMENT
                                                               Pursuant to Rule 2016(b)

         1. Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named
         debtor(s) and that the compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to
         be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with
         this bankruptcy case is as follows:
                         For legal services, I have agreed to accept                                           $                  4000.00
                         Prior to the filing of this statement I have received                                 $                  4310.00
                         Amount of filing fee in this case paid                                                $                   310.00
                         Balance Due                                                                           $                     0.00

         2. The source of the compensation paid to me was:
                 Debtor(s)                        Other      (Specify: )

         3. The source of the compensation to be paid to me is:
                 Debtor(s)                        Other      (Specify: )

         4.      I have not agreed to share the above-disclosed compensation with a person or persons who are not
                 members or associates of my law firm.

                  I have agreed to share the above-disclosed compensation with a person or persons who are not members
                 or associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in
                 the compensation, is attached.

         5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
                 Analysis of the debtor(s) financial situation, and rendering advice to the debtor(s) in
                 determining whether to file a petition in bankruptcy under title 11 of the United States Code.
                 Preparation and filing of any petition, schedules, statements, and plan which may be required.
                 Representation of the debtor(s) at the meeting of creditors.
                 Negotiation of reaffirmation or surrender of secured collateral.




         6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
            Adversary Proceedings




                                                                         CERTIFICATION
                     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
         representation of the debtor(s) in this bankruptcy proceeding.



                    8/5/14                                                       X   /s/Joseph C. Michelotti
                    Date                                                             Signature of Attorney
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